             Case 3:16-md-02741-VC Document 2592 Filed 01/30/19 Page 1 of 9



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18                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
19

20
      IN RE: ROUNDUP PRODUCTS                         MDL No. 2741
21    LIABILITY LITIGATION
                                                      Case No. 16-md-02741-VC
22
      This document relates to:                       PLAINTIFFS’ NOTICE OF
23
                                                      MOTION AND MOTION IN
24    Hardeman v. Monsanto Co., et al.,               LIMINE NO. 3 TO EXCLUDE
      3:16-cv-0525-VC;                                ANY EVIDENCE AND
25    Stevick v. Monsanto Co., et al.,                TESTIMONY REGARDING
      3:16-cv-02341-VC;                               THE EFFICACY AND
26
      Gebeyehou v. Monsanto Co., et al.,              BENEFITS OF GLYPHOSATE
27    3:16-cv-5813-VC

28

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     PLAINTIFFS’ MOTION IN LIMINE NO. 3 TO EXCLUDE ANY EVIDENCE AND TESTIMONY REGARDING
                           THE EFFICACY AND BENEFITS OF GLYPHOSATE
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1

2
     TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF RECORD:
3
     PLEASE TAKE NOTICE THAT beginning on February 13, 2019 in Courtroom 4 of the United
4
     States District Court, Northern District of California, located at 450 Golden Gate Avenue, San
5
     Francisco, CA 94102, or as ordered by the Court, Plaintiffs will present their Motion in Limine to
6
     Exclude any Evidence and Testimony Regarding the Efficacy and Benefits of Glyphosate. A
7
     supporting memorandum is filed herewith.
8
     Dated: 1/30/2019                                     Respectfully submitted,
9

10                                                        /s/ Aimee Wagstaff
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                                                2
     PLAINTIFFS’ MOTION IN LIMINE NO. 3 TO EXCLUDE ANY EVIDENCE AND TESTIMONY REGARDING
                           THE EFFICACY AND BENEFITS OF GLYPHOSATE
               Case 3:16-md-02741-VC Document 2592 Filed 01/30/19 Page 3 of 9



1
                           MEMORANDUM OF POINTS AND AUTHORITIES
2
             On November 27, 2018, Monsanto designated Dr. Bradley D. Hanson and Dr. Kassim Al-
3
     Khatib 1 to testify about Glyphosate efficacy. Testimony regarding glyphosate’s efficacy or
4
     benefits to agriculture, however, is wholly irrelevant to the issues of this case and has no tendency
5
     to make a fact more or less probable than it would be without the evidence. FRE 401. Further, any
6
     probative value of evidence relating to the benefits of glyphosate is substantially outweighed by
7
     the probability that its admission will necessitate undue consumption of time, confusion, and
8
     unnecessarily mislead the jury. FRE 403. Accordingly, all evidence and testimony on glyphosate’s
9

10
     efficacy or benefits and/or impact on the economy, food and crop production, environment, natural

11   resources, public, and/or protection of human and animal health must be excluded.

12   I.      ANY EVIDENCE OR TESTIMONY REGARDING THE EFFICACY AND
             BENEFITS OF GLYPHOSATE SHOULD BE EXCLUDED FROM THE TRIAL.
13
             Only relevant evidence is admissible. Relevant evidence is evidence that has “any
14
     tendency to make a fact more or less probative that it would be without the evidence and the fact
15

16
     is of consequence in determining the action.” FRE 401. At trial, Plaintiffs intend to assert causes

17   of action specifically related to Roundup causing cancer and Monsanto’s failure to warn of these

18   risks. The jury would not benefit from testimony regarding whether glyphosate is effective and

19   beneficial to the environment as that is completely irrelevant to the material issues in this case.

20        A. The Consumer Expectation Test 2 is Appropriate In This Case to Prove Strict
21
             Product Liability Design Defect.
             Monsanto will likely argue that the benefit evidence is relevant due to Plaintiffs’ design
22

23
     defect claims, but such evidence is not relevant under the consumer expectation test. California

24   courts have defined product defects in three alternative and independent categories:

25   manufacturing defect, design defects, and warning defects. Anderson v. Owens-Corning

26

27   1
       Dr. Al-Khatib’s report is entitled “Glyphosate Uses and Its Contribution to Agriculture, Environment, Natural
     Resources and Protection of Human and Animal Health.” (See Ex. 1.) Dr. Hanson’s report also touts the benefits of
28   glyphosate saying that it is “a one in a century herbicide.” (See Ex. 2, p. 37.)
     2
       Judge Bolanos granted an instruction in the Johnson case incorporating the Consumer expectation test. (See Ex. 3.)
                                                                 1
      PLAINTIFFS’ MOTION IN LIMINE NO. 3 TO EXCLUDE ANY EVIDENCE AND TESTIMONY REGARDING
                                     THE EFFICACY AND BENEFITS OF GLYPHOSATE
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1
     Fiberglas Corp., (1991) 53 Cal.3d 987, 995; Rivas v. Safety-Kleen Corp. (2002) 98 Cal.App.4th
2
     218, 229. Within the design defect category, a product may be proven defective under two
3
     alternative tests: consumer expectations and risk-benefit. Barker v. Lull Engineering Co. (1978)
4
     20 Cal.3d 413, 432; Bresnahan v. Chrysler Corp. (1995) 32 Cal.App.4th 1559, 1569 (risk-benefit
5
     weighing is not a defense to consumer expectation test); Bacisco v. Beech Aircraft Corp. (1984)
6
     159 Cal.App.3d 1101, 1107.
7
            The consumer expectations test applies when “[t]he purposes, behaviors, and dangers of
8
     [the] products are commonly understood by those who ordinarily use them.” Saller v. Crown Cork
9

10
     and Seal Co., Inc., (2010) 187 Cal.App. 4th 1220, 1232. The “consumer expectation test”

11   recognizes that “implicit in a product's presence on the market is a representation that it is fit to

12   do safely the job for which it was intended.” Johnson v. United States Steel Corp., (2015) 240

13   Cal.App.4th 22, 32 (internal citations omitted). Succinctly put, “[w]here the product is one of

14   ‘common experience,’ encountered generally in everyday life, the jury can rely on its own

15   expectations of safety in applying the test.” Id. at 32.
16          Courts have expressly rejected that the consumer expectation test is improper whenever
17   the claim involves a complex product or technical questions of causation. “[T]he inherent
18   complexity of the product itself is not controlling on the issue of whether the consumer
19   expectations test applies; a complex product ‘may perform so unsafely that the defect is apparent
20   to the common reason, experience, and understanding of its ordinary consumers.’” Saller, 187
21
     Cal.App.4th at 1232; Soule v. General Motors Corp., 8 Cal.4th 548, 569. “The critical question
22
     is whether the ‘circumstances of the product's failure permit an inference that the product's design
23
     performed below the legitimate, commonly accepted minimum safety assumptions of its ordinary
24
     consumers.’ ” McCabe, supra, 100 Cal.App.4th at p. 1122; Soule, supra, 8 Cal.4th at pp. 568–69.
25
            Here, Plaintiffs’ defect theory does not require an understanding of technical and
26
     mechanical detail regarding the manufacturing process. Instead, the alleged design defect arises
27
     from exposure to carcinogens during the routine and relatively straightforward use and
28

                                                2
     PLAINTIFFS’ MOTION IN LIMINE NO. 3 TO EXCLUDE ANY EVIDENCE AND TESTIMONY REGARDING
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1
     maintenance of Defendant’s products. In this manner, this case is nearly identical to Arnold v.
2
     Dow Chemical Co., (2001) 91 Cal.App.4th 698, 110 Cal.Rptr.2d 722, where the court held that
3
     the consumer expectations test was properly applied in a design defect claim brought against a
4
     manufacturer of pesticides by those injured from exposure to the product. Id. at p. 727, 110
5
     Cal.Rptr.2d 722. In holding both the manufacturer of the finished product and the supplier of the
6
     chemical component allegedly causing the harmful effects to be potentially liable, the court noted
7
     that a pesticide, like asbestos insulation, is “within the ordinary experience and understanding of
8
     a consumer” and a consumer may “reasonably believe that pesticides are designed to eliminate
9

10
     pests within homes occupied by humans, without causing significant harm to the humans.” Id. at

11   p. 717, 110 Cal.Rptr.2d 722; see also Sparks v. Owens-Illinois, Inc., (1995) 32 Cal. App. 4th 461

12   (holding that consumer expectations test applies in asbestos-related injury cases); Saller v. Crown

13   Cork & Seal Co. Inc., (2010) 187 Cal. App. 4th 1220 (same); West v. Johnson & Johnson Prods.,

14   Inc. (1985) 174 Cal. App. 3d 831 (applying consumer expectations test to case claiming tampons

15   caused toxic shock syndrome).
16          The fact that lay persons require expert testimony to understand how exposure to the
17   glyphosate-containing products causes cancer has to do with causation, not design defect. As the
18   court explained in Saller:
19

20          The fact that expert testimony was required to establish legal causation for
            plaintiffs' injuries does not mean than an ordinary user of the product would
21          be unable to form assumptions about the safety of the products. The
            consumer expectations test does not require inquiry into how exposure to a
22
            particular level of asbestos may lead to the development of cancer.
23
     Id. at 1235.
24
            Plaintiffs were ordinary consumers of Monsanto’s glyphosate-containing products. They
25
     used these products for their intended purpose: as an herbicide to kill common weeds. The
26
     circumstances under which they used Roundup is no different than any of the other consumers
27
     who purchase, mix, and/or spray Roundup at home or in the workplace.                   Further, the
28

                                                3
     PLAINTIFFS’ MOTION IN LIMINE NO. 3 TO EXCLUDE ANY EVIDENCE AND TESTIMONY REGARDING
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             Case 3:16-md-02741-VC Document 2592 Filed 01/30/19 Page 6 of 9



1
     circumstances of the alleged product failure are also straightforward as people using herbicides
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     for their intended purpose do not expect that routine use will cause cancer. Ordinary consumers
3
     do not require technical expertise to form an opinion regarding whether the product’s design
4
     performed below the legitimate and commonly accepted minimum safety assumptions. See Saller,
5
     (2010) 187 Cal.App.4th at 1234 (finding that it was a reasonable inference from the evidence that
6
     the emission of toxins capable of causing a fatal disease after a long latency period was a product
7
     failure beyond the legitimate, commonly accepted safety assumptions of its ordinary consumers).
8
     Accordingly, the consumer expectations test may be properly applied in this case.
9

10      B. Plaintiffs’ Election To Submit Their Design Defect Claims to the Jury on The
           Consumer Expectation Test Requires Preclusion of Evidence and Testimony Related
11
           to the Benefits of the Product’s Design.
12          In cases where the consumer expectation applies, “evidence of the relative risks and
13
     benefits of the design is irrelevant and inadmissible.” Sparks v. Owens-Illinois, Inc., (1995) 32
14
     Cal.App.4th 461, 473. A manufacturer simply cannot “defend a claim that a product’s design
15
     failed to perform as safely as its ordinary consumers would expect by presenting expert evidence
16
     of the design’s relative risks and benefits.” Soule, supra, 8 Cal. 4th at 566, 34 Cal. Rptr. 2d 607.
17
     Thus, a trial court should properly exclude a defendant’s risk-benefit evidence following a
18
     determination that the consumer expectations applies. Romine v. Johnson Controls, Inc., (2014)
19
     224 Cal. App. 4th 990, 1004-05; Mansur v. Ford Motor Co., (2011) 197 Cal. App. 4th 1365, 1375,
20
     (finding that “expert witnesses may not be used to demonstrate what an ordinary consumer would
21
     or should expect” under the consumer expectations test). Here, Monsanto may not defend the
22
     claims that its products’ design failed to perform as safely as ordinary consumers would expect
23
     by presenting expert evidence of the benefits of glyphosate.
24

25      C. Whether Glyphosate is Effective or Beneficial Is Irrelevant to Plaintiffs’ Failure To
           Warn Claims.
26
            “Generally speaking, manufacturers have a duty to warn consumers about the hazards
27
     inherent in their products.” Johnson, supra, 43 Cal.4th at p. 64, 74 Cal.Rptr.3d 108, 179 P.3d 905;
28

                                                4
     PLAINTIFFS’ MOTION IN LIMINE NO. 3 TO EXCLUDE ANY EVIDENCE AND TESTIMONY REGARDING
                           THE EFFICACY AND BENEFITS OF GLYPHOSATE
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1
     Webb v. Special Elec. Co., 63 Cal. 4th 167, 181, 370 P.3d 1022, 1030 (2016). California law
2
     recognizes separate failure to warn claims under strict liability and negligence theories. A product
3
     seller will be strictly liable for failure to warn if a warning was feasible and the absence of a
4
     warning caused the plaintiff's injury. Blackwell v. Phelps Dodge Corp., (1984) 157 Cal.App.3d
5
     372, 377, 203 Cal.Rptr. 706; see Anderson supra, at p. 1002. Unlike claims for negligent failure
6
     to warn, reasonableness of the seller’s failure to warn is immaterial in the strict liability context.
7
     Anderson, at pp. 1002–1003, 281 Cal.Rptr. 528, 810 P.2d 549. The focus of both theories of
8
     liability is on the manufacturer’s knowledge of the dangerous propensities of its product and
9

10
     whether the manufacturer adequately warned of the known risk. The efficacy of a product “is not

11   relevant to a failure to warn claim.” LaBarre v. Bristol-Myers Squibb Co., 544 Fed. Appx 120,

12   125 (3d Cir. 2013); Solomon v. Bristol-Myers Squibb, Co., 916 F. Supp. 2d 556, 564 (D. N.J.

13   2013) (finding that evidence regarding efficacy is not relevant to the adequacy of warnings with

14   respect to Plaintiff’s health condition.); Needham v. White Labs., Inc., 639 F.2d 394, 402 (7th Cir.

15   1981) (evidence of efficacy or inefficacy of drug is irrelevant because “the dispositive issue . . .
16   is whether [defendant] should be held liable for its failure to warn of the risk of cancer”).
17
        D. The Probative Value of Allowing Evidence of the Benefits of Glyphosate is
18         Substantially Outweighed by the Danger of Undue Prejudice and Jury Confusion.

19          The fundamental issues in these cases are not whether the growth of weeds are detrimental

20   to society or whether glyphosate is an effective herbicide. Even if it can be shown that evidence

21   regarding glyphosate’s benefits may somehow be relevant, any probative value of such evidence
22   is far outweighed by the unfair prejudice, confusion, and delay that would result from allowing
23   its admission into evidence. Fed. R. Evid. 403. Opening the door to issues such as whether
24   glyphosate is good for the environment opens the door to host of other issues and creates a trial
25   within a trial. Monsanto is expected to elicit considerable testimony from Dr. Al-Khatib on
26   efficacy. Although Dr. Al-Khatib’s testimony will not aid the jury in its determination in any way,
27
     Plaintiffs would need to sufficiently cross-examine Dr. Al-Khatib and potentially call a rebuttal
28
     expert to minimize the prejudicial effect of his testimony.
                                                5
     PLAINTIFFS’ MOTION IN LIMINE NO. 3 TO EXCLUDE ANY EVIDENCE AND TESTIMONY REGARDING
                           THE EFFICACY AND BENEFITS OF GLYPHOSATE
             Case 3:16-md-02741-VC Document 2592 Filed 01/30/19 Page 8 of 9



1
            Based on the foregoing, Plaintiffs respectfully request that the Court enter an Order
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     granting this motion in limine.
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     PLAINTIFFS’ MOTION IN LIMINE NO. 3 TO EXCLUDE ANY EVIDENCE AND TESTIMONY REGARDING
                           THE EFFICACY AND BENEFITS OF GLYPHOSATE
             Case 3:16-md-02741-VC Document 2592 Filed 01/30/19 Page 9 of 9



1    Dated: 1/30/2019                                   Respectfully submitted,
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18                                                      Co-Lead Counsel for Plaintiffs

19

20
                                    CERTIFICATE OF SERVICE
21
            I certify that on January 30, 2019, I electronically filed the foregoing document with the
22
     Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
23

24
     CM/ECF participants registered to receive service in this MDL.

25
                                                        /s/ Aimee Wagstaff______________
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                                                7
     PLAINTIFFS’ MOTION IN LIMINE NO. 3 TO EXCLUDE ANY EVIDENCE AND TESTIMONY REGARDING
                           THE EFFICACY AND BENEFITS OF GLYPHOSATE
